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DIST`RICT oF MA§§A@HBSETTS

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JoHN DoE 1,’10111\1 130E 11, 101111 1)1)B1I1
JOHN DoE iv, JANE DoE 1 sUs"A“N E
sCHuMANN, CHARLES RICHARI)SON /
NANCY LEssIN:/JEFFREY MCKENZIE,-»
REPRESENTATIVE JoHN CoNYERs,/
REPRESENTATWE DENNIS KU'CINICH,»
REPRESENTATWE JESSE JACKSON, JR.»,
REPRESENTATWE SHEILA JACKSON
LEE,’REPRESE§TATWE 111\/1
MCDERMGTT and REPRESENTATIVE
JosE a sERRANo,

Plaintiffs,

V.

PRESIDENT GEORGE W. BUSH and
SECRETARY OF DEFENSE DONALD H.

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Civil Action

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RUMSFELD, each in their official capacity, DATE 2 1 / 3 403
Defendants.
COMPLAINT
Introduction
1. A coalition of plaintiffs, including United States soldiers, parents of United

States soldiers, and Mernbers of the United States Congress, hereby bring this

action challenging, under Article I, § 8 of the United States Constitution, the

authority of Defendant President George W. BuSh and Defendant Secretary of

Det`ense Donald H. Rurnsfeld (hereinafter “Defendants”) to wage War against

lraq, absent a clear declaration of War by the United States Congress.

 

 

 

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2. Plaintiffs seek declaratory and injunctive relief enjoining Defendants from
Waging War or military invasion of Iraq Without a Congressional declaration
of war.

Jurisdiction and Venue

3. Jurisdiction is proper in this Court under 28 U.S.C. §§ 1331, 1651, 2201-
2202 in that Plaintiffs’ claims arise under the United States Constitution,
Article I, § 8.

4. Venue is proper in this Court under 28 U.S.C. § 1391 in that Plaintiffs include
residents of Massachusetts.

Parties

5. Plaintil"f John Doe I is a resident of Massachusetts and has Served as a member
of the Air Force Reserves for many years. In 1991, he Was called into active
duty to serve United States military campaigns, Operation Desert Storm and
Operation Desert Shield, in the Persian Gulf. In 2001 , he Was called again
into active duty to serve the United States military campaign against
Afghanistan. Plaintiff John Doe l Was recently placed on mandatory overtime
military status at the military base where he serves and expects to be called
into active duty again at any time for participation in a military invasion
against lraq.

6. Plaintit`f John Doe ll has been a member of the United States Marine Corps

for three years. He is currently stationed in the Persian Gulf area in

preparation for a military invasion against lraq.

 

 

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7. John Doe lll is a resident of Massachusetts and serves as a sergeant in the
Massachusetts National Guard. John Doe lll’s unit Was activated on February
12, 2003, and he has reported for active duty for the forthcoming war With
lraq.

8. Plaintiffs John Doe IV and Jane Doe I are residents of Washington State and
the parents of a United States Marine Who is now stationed in the Persian Gulf
area. Plaintiffs’ son was recently sent to the Persian Gulf area in preparation
for a military invasion against lraq.

9. Plaintifi` Susan E. Schurnann is a resident of 67 Barnes Branch Road,
Shelburne Falls, Massachusetts. Plaintift` Schumann’s son is a member of the
Massachusetts National Guard. He enlisted in the Massachusetts National
Guard after serving in the United States Armed Forces. The Massachusetts
National Guard recently activated his unit for imminent deployment to the
Persian Gulf area in preparation for a military invasion of lraq.

lO. Plaintiffs Charles Richardson and Nancy Lessin are residents of 12 Park Lane,
Jamaica Plain, Massachusetts. Plaintiff Richardson’s son and Plaintiff
Lessin’s stepson is a United States Marine Who is now stationed in the Persian
Gulf area, in preparation for a military invasion of lraq. Plaintiffs Richardson
and Lessin are co-founders of l\/Iilitary Farnilies Speak Out, an organization of
people opposed to war in Iraq Who have relatives or loved ones in the military.

ll. Plaintiff Jeffrey McKenZie is a resident of 8127 West Avenue, Gasport, NeW

York. Plaintiff McKenzie’s son is an officer in the United States Army who is

 

 

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now stationed in the Persian Gulf area, in preparation for a military invasion
of lraq. Plaintiff McKenZie is a co-founder of Military Families Speak Out.

12. Plaintiff John Conyers is a member of the United States of Representatives
representing the 14th Congressional District of Michigan.

13. Plaintiff Dennis Kucinich is a member of the United States H.ouse of
Representatives representing the lOth Congressional District of Ohio.

14. Plaintiff Jesse Jackson, .lr. is a member of the United States House of
Representatives representing the Z"d Congressional District of lllinois.

15. Plaintiff Sheila Jackson Lee is a member of the United States House of
Representatives representing the 18th Congressional District of TeXas.

16. Plaintiff J im McDermott is a member of the United States House of
Representatives representing the 7th Congressional District of Washington
State.

l7. Plaintiff José E. Serrano is a member of the United States House of
Representatives representing the 16th Congressional District of New York.

18. Defendant George W. Bush is the President of the United States. He is sued
in his official capacity as President.

19. Defendant Donald H. Rumsfeld is the Secretary of Defense of the United
Statcs. He is sued in his official capacity as the Secretary of Defense.

Factual Allegations

20. On information and belief, Defendants are preparing for an imminent military

invasion of lraq.

 

 

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21. Defendants have ordered more than 100,000 United States troops to the
Persian Gulf area in preparation for this War.

22. Defendant President George W. Bush does not intend to seek a Congressional
declaration of war prior to launching a military invasion of Iraq. Defendant
Bush has made numerous public statements in recent weeks that, as President,
he holds the power to decide Whether or not this nation will wage war on lraq.

23. The United States Congress has not declared War against lraq.

24. In October 2002, the United States Congress passed a resolution which is not
a declaration of War, properly construed. To the extent that a broad
construction of the resolution confers discretion upon the President to wage
war, the resolution unconstitutionally cedes to the President the power to
decide Whether or not to send this nation into war.

25. By Waging war against Iraq absent a Congressional declaration of War,
Defendants will deny Plaintiff-Members of Congress their right, under Article
I, § 8 of the United States Constitution, to vote on Whether or not to declare
War.

26. By waging war against Iraq absent a Congressional declaration of war,
Defendants Will endanger the lives of Plaintiffs John Doe I, John Doe ll, and
John Doe III, the sons of Plaintiffs John Doe IV and Jane Doe I, Susan E.
Schurnann, Charles Richardson and Nancy Lessin, Jeffrey McKenzie, and tens

of thousands of similarly situated United States soldiers in an illegal and

unconstitutional war.

 

 

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FIRST CAUSE OF ACTION

27. Defendants’ plans for an imminent military invasion of Iraq, absent a
congressional declaration of War, violate Article I, § 8 of the United States
Constitution, Which requires that “Congress shall have Power. . . [t]o declare
War.”

28. By waging War against Iraq absent a congressional declaration of War,
Defendants will cause irreparable harm to the Plainti ff soldiers and parents of
soldiers, including, but not limited to, death, loss of family members, serious
injury, and psychological trauma associated with the horrors of war.

29. By wagin g War against lraq absent a congressional declaration of War,
Defendants will cause irreparable harm to the Plaintiff Members of Congress
who will be denied their constitutional right on Whether or not to declare War.

REQUEST FOR RELIEF

WHEREFORE, Plaintiffs pray that this Court enter an Order as follows:

(a) Deelare that Defendants’ plans for an imminent military invasion of Iraq, absent a
Congressional declaration of War, violate Article l, § 8 of the United States
Constitution;

(b) Order that Defendants are enjoined from Waging War against lraq absent a
Congressional declaration of war;

(c) Award Plaintiffs their costs and reasonable attorneys’ fees pursuant to 28 U.S.C.

§2412(a) and (d); and

(d) Grant such other relief as may be just and proper.

 

 

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Febl'uary 13, 2003

Respectfully submitted,
JOHN DOE, I, et al.,

By their Attorneys,

(Pti_ cf wear

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